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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***

4

5
      UNITED STATES OF AMERICA,
6
                           Plaintiff,
7                                                         2:15-cr-00018-APG-VCF
      vs.                                                 ORDER
8     MARK JONES,
9                          Defendant.
10

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12          Before the Court is Defendant Mark Jones’ Motion to Amend Conditions of Pretrial Release (ECF
13   No. 138).
14          IT IS HEREBY ORDERED that any opposition to the Defendant Mark Jones’ Motion to Amend
15   Conditions of Pretrial Release (ECF No. 138) must be filed on or before April 6, 2017.
16          DATED this 30th day of March, 2017.
17
                                                                _________________________
18
                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE

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